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 1                                                             HONORABLE DAVID G. ESTUDILLO

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 6
                                  UNITED STATES DISTRICT COURT
 7
                                 WESTERN DISTRICT OF WASHINGTON
 8                                         AT TACOMA

 9
     GABRIELLA SULLIVAN, et al.,
10                                                            No. 3:22-cv-05403-DGE
                                          Plaintiffs,
11
                                                              INTERVENOR-DEFENDANT
12          v.                                                ALLIANCE FOR GUN
                                                              RESPONSIBILITY’S ANSWER TO
13   BOB FERGUSON, et al.,                                    PLAINTIFF’S FIRST AMENDED
                                                              COMPLAINT
14                                      Defendants.
15

16

17
             Defendant-Intervenor Alliance for Gun Responsibility (the “Alliance”) answers the First
18

19   Amended Complaint for Declaratory and Injunctive Relief (the “Amended Complaint”) of

20   Plaintiffs Gabriella Sullivan, et al. (“Plaintiffs”) as follows:

21           The unnumbered paragraph at the outset of the Amended Complaint contains
22
     characterizations of this action and legal conclusions or argument to which no response is
23
     required. To the extent a response is required, the Alliance denies the same.
24
                                              INTRODUCTION
25
             1.      The Alliance admits that one way in which Engrossed Substitute Senate Bill 5078
26

27   (“ESSB 5078”) regulates large-capacity magazines (“LCMs”) is by prohibiting as a gross
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                                                                                           SUITE 2000
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 1   misdemeanor any person in Washington from manufacturing, importing, distributing, selling, or

 2   offering to sell an LCM, with exceptions for (1) the armed forces of Washington State or the
 3
     United States; (2) law enforcement agencies in Washington; or (3) out-of-state sale or transfer by
 4
     a licensed firearms dealer. Except as expressly admitted above, Paragraph 1 consists of legal
 5
     conclusions or argument to which no response is required. To the extent a further response is
 6
     required, the Alliance denies the same.
 7

 8          2.      Paragraph 2 consists of legal conclusions or argument to which no response is

 9   required. To the extent a response is required, the Alliance denies the same.
10          3.      The first sentence in Paragraph 3 contains legal conclusions or argument to which
11
     no response is required. To the extent a response is required, the Alliance denies the same. The
12
     Alliance denies all remaining allegations in Paragraph 3.
13
            4.      Paragraph 4 consists of legal conclusions or argument to which no response is
14

15   required. To the extent a response is required, the Alliance denies the same.

16          5.      Paragraph 5 consists of legal conclusions or argument to which no response is

17   required. To the extent a response is required, the Alliance denies the same.
18          6.      Paragraph 6 consists of legal conclusions or argument to which no response is
19
     required. To the extent a response is required, the Alliance denies the same.
20
            7.      Paragraph 7 consists of characterizations of this action or legal conclusions or
21
     argument to which no response is required. To the extent a response is required, the Alliance
22

23   denies the same.

24                                   JURISDICTION AND VENUE

25          8.      Paragraph 8 consists of legal conclusions or argument to which no response is
26   required.
27
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 1          9.      Paragraph 9 consists of characterizations of this action or legal conclusions or

 2   argument to which no response is required. To the extent a response is required, the Alliance
 3
     denies the same.
 4
            10.     Admit.
 5
                                                  PARTIES
 6
            11.      The Alliance lacks sufficient knowledge or information to form a belief about the
 7

 8   truth of the allegations in Paragraph 11, which shall have the effect of a denial.

 9          12.     The Alliance lacks sufficient knowledge or information to form a belief about the

10   truth of the allegations in Paragraph 12, which shall have the effect of a denial.
11          13.     The Alliance lacks sufficient knowledge or information to form a belief about the
12
     truth of the allegations in Paragraph 13, which shall have the effect of a denial.
13
            14.     The fourth sentence of Paragraph 14 consists of characterizations of this action to
14
     which no response is required. To the extent a response is required, the Alliance denies the same.
15

16   The Alliance lacks sufficient knowledge or information to form a belief about the truth of the

17   remaining allegations in Paragraph 14, which shall have the effect of a denial.

18          15.     The fifth sentence of Paragraph 15 consists of characterizations of this action to
19
     which no response is required. To the extent a response is required, the Alliance denies the same.
20
     The Alliance lacks sufficient knowledge or information to form a belief about the truth of the
21
     remaining allegations in Paragraph 15, which shall have the effect of a denial.
22
            16.     The first sentence of Paragraph 16 consists of characterizations of this action to
23

24   which no response is required. To the extent a response is required, the Alliance denies the same.

25   The second sentence of Paragraph 16 consists of legal conclusions or argument to which no
26   response is required. To the extent a response is required, the Alliance denies the same.
27
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 1          17.     The first sentence of Paragraph 17 consists of characterizations of this action to

 2   which no response is required. To the extent a response is required, the Alliance denies the same.
 3
     The second sentence of Paragraph 17 consists of legal conclusions or argument to which no
 4
     response is required. To the extent a response is required, the Alliance denies the same.
 5
            18.     The first sentence of Paragraph 18 consists of characterizations of this action to
 6
     which no response is required. To the extent a response is required, the Alliance denies the same.
 7

 8   The second sentence of Paragraph 18 consists of legal conclusions or argument to which no

 9   response is required. To the extent a response is required, the Alliance denies the same.
10          19.     The first sentence of Paragraph 19 consists of characterizations of this action to
11
     which no response is required. To the extent a response is required, the Alliance denies the same.
12
     The second sentence of Paragraph 19 consists of legal conclusions or argument to which no
13
     response is required. To the extent a response is required, the Alliance denies the same.
14

15          20.     The first sentence of Paragraph 20 consists of characterizations of this action to

16   which no response is required. To the extent a response is required, the Alliance denies the same.

17   The second sentence of Paragraph 20 consists of legal conclusions or argument to which no
18   response is required. To the extent a response is required, the Alliance denies the same.
19
            21.     The first sentence of Paragraph 21 consists of characterizations of this action to
20
     which no response is required. To the extent a response is required, the Alliance denies the same.
21
     The second sentence of Paragraph 21 consists of legal conclusions or argument to which no
22

23   response is required. To the extent a response is required, the Alliance denies the same.

24          22.     The first sentence of Paragraph 22 consists of characterizations of this action to

25   which no response is required. To the extent a response is required, the Alliance denies the same.
26

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 1   The second sentence of Paragraph 22 consists of legal conclusions or argument to which no

 2   response is required. To the extent a response is required, the Alliance denies the same.
 3
            23.     The first sentence of Paragraph 23 consists of characterizations of this action to
 4
     which no response is required. To the extent a response is required, the Alliance denies the same.
 5
     The second sentence of Paragraph 23 consists of legal conclusions or argument to which no
 6
     response is required. To the extent a response is required, the Alliance denies the same.
 7

 8                                      FACTUAL ASSERTIONS

 9          24.     The Alliance admits that Governor Jay Inslee signed ESSB 5078 into law on

10   March 23, 2022. The remaining allegations in Paragraph 24 relate to cited bill and statutory
11   provisions, which speak for themselves. The Alliance denies all allegations and characterizations
12
     in Paragraph 24 inconsistent with the cited provisions.
13
            25.     Paragraph 25 contains allegations related to statutory provisions, which speak for
14
     themselves. The Alliance denies all allegations and characterizations in Paragraph 25
15

16   inconsistent with the cited provisions. The remainder of Paragraph 25 consists of legal

17   conclusions or argument to which no response is required. To the extent a response is required,

18   the Alliance denies the same.
19
            26.     Paragraph 26 consists of legal conclusions or argument to which no response is
20
     required. To the extent a response is required, the Alliance denies the same.
21
            27.     Paragraph 27 consists of legal conclusions or argument to which no response is
22
     required. To the extent a response is required, the Alliance denies the same.
23

24          28.     The bill and statutory provisions cited in Paragraph 28 speak for themselves. The

25   Alliance denies all allegations and characterizations in Paragraph 28 inconsistent with the cited
26   provisions.
27
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 1             29.   Admitted.

 2             30.   Paragraph 30 contains allegations related to statutory provisions, which speak for
 3
     themselves. The remaining allegations in Paragraph 30 are subjective characterizations and do
 4
     not require a response by way of factual pleading, but to the extent a response is required, the
 5
     Alliance denies the same. The Alliance specifically denies that “large capacity magazine” is a
 6
     “misnomer” and that LCMs are “more accurately described as ‘standard capacity magazines.’”
 7

 8             31.   The Alliance lacks sufficient knowledge or information to form a belief about the

 9   truth of the allegations in Paragraph 31, which shall have the effect of a denial.
10             32.   The publication cited in Paragraph 32 speaks for itself. The Alliance denies all
11
     allegations, inferences, and characterizations in Paragraph 32 inconsistent with the cited
12
     publication. To the extent Paragraph 32 alleges facts as to the veracity of the publication’s
13
     findings or conclusions, or as to any inferences drawn therefrom, the Alliance lacks sufficient
14

15   knowledge or information to form a belief as to their truth, which shall have the effect of a

16   denial.

17             33.   The Alliance admits that LCMs exist in the United States and that some firearms
18   are able to accept LCMs. The remaining allegations in Paragraph 33 are subjective
19
     characterizations and do not require a response by way of factual pleading, but to the extent a
20
     response is required, the Alliance denies the same.
21
               34.   The first sentence of Paragraph 34 consists of subjective characterizations and
22

23   does not require a response by way of factual pleading, but to the extent a response is required,

24   the Alliance denies the same. The second sentence of Paragraph 34 consists of legal conclusions

25   or argument to which no response is required, but to the extent a response is required, the
26
     Alliance denies the same.
27
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 1             35.   The first sentence of Paragraph 35 is denied. The publication cited in the second

 2   sentence of Paragraph 35 speaks for itself. The Alliance denies all allegations, inferences, and
 3
     characterizations in Paragraph 35 inconsistent with the cited publication.
 4
               36.   The Alliance denies the first sentence in Paragraph 36. The publication cited in
 5
     the second sentence of Paragraph 36 speaks for itself. The Alliance denies all allegations,
 6
     inferences, and characterizations in Paragraph 36 inconsistent with the cited publication. The
 7

 8   third and fourth sentences of Paragraph 36 consist of subjective characterizations and

 9   hypothetical opinions that do not require a response by way of factual pleading, but to the extent
10   a response is required, the Alliance denies the same. The Alliance specifically denies Paragraph
11
     36’s assertion or suggestion that LCMs are not commonly used in violent crimes in the United
12
     States.
13
               37.   The publications cited in Paragraph 37 speak for themselves. The Alliance denies
14

15   all allegations, inferences, and characterizations in Paragraph 37 inconsistent with the cited

16   publications. Paragraph 37 also consists of subjective characterizations that do not require a

17   response by way of factual pleading, but to the extent a response is required, the Alliance denies
18   the same. The Alliance specifically denies Paragraph 37’s assertion or suggestion that LCMs are
19
     rarely used in mass shootings. The Alliance specifically denies Paragraph 37’s assertion or
20
     suggestion that each year more Americans are killed or injured in lightning strikes than in mass
21
     shootings. The Alliance specifically denies Paragraph 37’s assertion or suggestion that state
22

23   restrictions on LCMs do not “have any impact at all on mass shootings.”

24             38.   The first sentence of Paragraph 38 is denied. The Alliance specifically denies

25   Paragraph 38’s assertion that LCM regulations are “recent phenomena.” The Alliance
26
     specifically denies Paragraph 38’s assertion or suggestion that laws restricting firing capacity of
27
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 1   firearms did not “exist[] anywhere in the United States before the 1990s.” The remainder of

 2   Paragraph 38 consists of legal conclusions or argument to which no response is required, but to
 3
     the extent a response is required, the Alliance denies the same.
 4
            39.     The publication cited in Paragraph 39 speaks for itself. The Alliance denies all
 5
     allegations, inferences, and characterizations in Paragraph 39 inconsistent with the cited
 6
     publication. The Alliance specifically denies Paragraph 39’s assertion or suggestion that LCMs
 7

 8   have been common in America (or anywhere else in the world) for hundreds of years. The

 9   Alliance admits that, to the extent weapons capable of firing more than ten rounds existed before
10   the 20th century, they were experimental, unusual, impractical, unreliable, prohibitively
11
     expensive, or otherwise not analogous to modern firearms equipped with LCMs—and thus
12
     unlikely to necessitate government regulation. The Alliance admits that the only known example
13
     in existence of the Wheellock rifle was made in Germany around 1580 and was capable of firing
14

15   16 shots. The Alliance lacks sufficient knowledge or information to form a belief about the truth

16   of the remaining allegations in Paragraph 39, which shall have the effect of a denial.

17          40.     The publications cited in Paragraph 40 speak for themselves. The Alliance denies
18   all allegations, inferences, and characterizations in Paragraph 40 inconsistent with the cited
19
     publications. The Alliance admits that, to the extent weapons capable of firing more than ten
20
     rounds existed before the 20th century, they were experimental, unusual, impractical, unreliable,
21
     prohibitively expensive, or otherwise not analogous to modern firearms equipped with LCMs—
22

23   and thus unlikely to necessitate government regulation. For example, the Alliance admits that in

24   1718 James Puckle patented a nine-round, giant, tripod-mounted “Puckle gun,” which was never

25   widely produced, difficult and expensive to manufacture, unreliable, and ridiculed by
26
     contemporaries for its impracticality; users would have to crank or rotate the cylinder by hand
27
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 1   between shots. The Alliance lacks sufficient knowledge or information to form a belief about the

 2   truth of the remaining allegations in Paragraph 40, which shall have the effect of a denial.
 3
            41.      The publications cited in Paragraph 41 speak for themselves. The Alliance denies
 4
     all allegations, inferences, and characterizations in Paragraph 41 inconsistent with the cited
 5
     publication. The Alliance specifically denies Paragraph 41’s assertion or suggestion that LCMs
 6
     were common in America in the founding generation. The Alliance admits that, to the extent
 7

 8   weapons capable of firing more than ten rounds existed before the 20th century, they were

 9   experimental, unusual, impractical, unreliable, prohibitively expensive, or otherwise not
10   analogous to modern firearms equipped with LCMs—and thus unlikely to necessitate
11
     government regulation. The Alliance admits that Lewis and Clark’s Girandoni air rifle had a 22-
12
     round capacity—but it required more than a thousand strokes of a hand pump to charge, only
13
     1,500 of them were ever manufactured, and even fewer than that ever made it to the United
14

15   States. The Alliance admits that a correspondence between Joseph Belton and the Continental

16   Congress exists, but denies that there are any historical records showing that his rifle was ever

17   actually tested or supplied. The Alliance lacks sufficient knowledge or information to form a
18   belief about the truth of the remaining allegations in Paragraph 41, which shall have the effect of
19
     a denial.
20
            42.      The Alliance denies the first sentence of Paragraph 42. The publication cited in
21
     Paragraph 42 speaks for itself. The Alliance denies all allegations, inferences, and
22

23   characterizations in Paragraph 42 inconsistent with the cited publication. The Alliance

24   specifically denies Paragraph 42’s assertion or suggestion that LCMs were common in the

25   United States in the 19th century. The Alliance admits that, to the extent weapons capable of
26
     firing more than ten rounds existed before the 20th century, they were experimental, unusual,
27
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 1   impractical, unreliable, prohibitively expensive, or otherwise not analogous to modern firearms

 2   equipped with LCMs—and thus unlikely to necessitate government regulation. The Alliance
 3
     admits that the rare Ellis-Jennings flintlock rifle of 1821 could fire four blackpowder shots, but
 4
     the user had to slide the action rearward to fire each subsequent shot, and very few were
 5
     produced. The Alliance specifically denies that 19th-century firearms capable of firing multiple
 6
     rounds without reloading were nearly as dangerous as modern firearms equipped with LCMs.
 7

 8   The Alliance lacks sufficient knowledge or information to form a belief about the truth of the

 9   remaining allegations in Paragraph 42, which shall have the effect of a denial.
10          43.     The Alliance denies the first and second sentences of Paragraph 43. The
11
     publications cited in Paragraph 43 speak for themselves. The Alliance denies all allegations,
12
     inferences, and characterizations in Paragraph 43 inconsistent with the cited publications. The
13
     Alliance specifically denies Paragraph 43’s assertion or suggestion that LCMs were
14

15   “commonplace” in the United States “[a]round the time of the Civil War” and that LCMs “were

16   commonly possessed already in the 1860s.” The Alliance admits that, to the extent weapons

17   capable of firing more than ten rounds existed before the 20th century, they were experimental,
18   unusual, impractical, unreliable, prohibitively expensive, or otherwise not analogous to modern
19
     firearms equipped with LCMs—and thus unlikely to necessitate government regulation. The
20
     Alliance specifically denies that 19th-century firearms capable of firing more than ten rounds
21
     without reloading were nearly as dangerous as modern firearms equipped with LCMs. For
22

23   example, unlike modern semi-automatic firearms with detachable LCMs, the Winchester 1866

24   and 1873 rifles had tubular magazines that were permanently affixed to the barrel of the gun and

25   required users to operate a lever after firing each shot to load a new round into the chambers—a
26
     time-consuming process. The Alliance lacks sufficient knowledge or information to form a belief
27
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 1   about the truth of the remaining allegations in Paragraph 43, which shall have the effect of a

 2   denial.
 3
               44.   The first and second sentences of Paragraph 44 consist of legal conclusions or
 4
     argument to which no response is required. To the extent a response is required, the Alliance
 5
     denies the same. The two publications cited in Paragraph 44 speak for themselves. The Alliance
 6
     denies all allegations, inferences, and characterizations in Paragraph 44 inconsistent with the
 7

 8   cited publications. Paragraph 44 also consists of subjective characterizations and hypothetical

 9   opinions that do not require a response by way of factual pleading, but to the extent a response is
10   required, the Alliance denies the same. The Alliance specifically denies Paragraph 44’s assertion
11
     or suggestion that regulations of LCMs do not reduce gun violence or increase public safety.
12
               45.   The Alliance denies the first sentence of Paragraph 45. The publication cited in
13
     Paragraph 45 speaks for itself. The Alliance denies all allegations, inferences, and
14

15   characterizations in Paragraph 45 inconsistent with the cited publication. The remaining

16   allegations in Paragraph 45 are subjective characterizations and hypothetical opinions and do not

17   require a response by way of factual pleading, but to the extent a response is required, the
18   Alliance denies the same.
19
               46.   The court decision cited in Paragraph 46 speaks for itself. The Alliance denies all
20
     allegations, inferences, and characterizations in Paragraph 46 inconsistent with the cited
21
     decision. The Alliance lacks sufficient knowledge or information to form a belief as to the truth
22

23   of the remaining allegations in Paragraph 46, which shall have the effect of a denial.

24             47.   The website cited in Paragraph 47 speaks for itself. The Alliance denies all

25   allegations, inferences, and characterizations in Paragraph 47 inconsistent with the cited website.
26

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 1   The Alliance lacks sufficient knowledge or information to form a belief about the truth of the

 2   remaining allegations in Paragraph 47, which shall have the effect of a denial.
 3
            48.     The Alliance denies the first sentence of Paragraph 48. The publications cited in
 4
     Paragraph 48 speak for themselves, and the Alliance denies all allegations, inferences, and
 5
     characterizations in Paragraph 48 inconsistent with the cited publications. The Alliance lacks
 6
     sufficient knowledge or information to form a belief as to truth of the allegations in the second
 7

 8   and fourth textual sentences in Paragraph 48, which shall have the effect of a denial. The

 9   Alliance admits that ESSB 5078 has exceptions for, inter alia, law enforcement agencies in
10   Washington. The remaining allegations in Paragraph 48 consist of legal conclusions or argument
11
     or subjective characterizations to which no response is required, but to the extent a response is
12
     required, the Alliance denies the same.
13
            49.     Paragraph 49 consists of subjective characterizations and hypothetical opinion to
14

15   which no response is required, but to the extent a response is required, the Alliance denies the

16   same. The Alliance specifically denies Paragraph 49’s assertion that “violent criminals will not

17   be meaningfully constrained by Washington’s magazine ban” and its suggestion that ESSB 5078
18   will not reduce gun violence or improve public safety.
19
            50.     The website cited in Paragraph 50 speaks for itself. The Alliance denies all
20
     allegations, inferences, and characterizations in Paragraph 50 inconsistent with the cited website.
21
     The Alliance lacks sufficient knowledge or information to form a belief about the truth of the
22

23   remaining allegations in Paragraph 50, which shall have the effect of a denial.

24          51.     Paragraph 51 consists of legal conclusions and argument to which no response is

25   required. To the extent a response is required, the Alliance denies the same.
26

27
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 1                STATEMENT OF FACTS RELATING TO GABRIELLA SULLIVAN

 2          52.     The Alliance incorporates its responses as set forth above.
 3          53.     The Alliance lacks sufficient knowledge or information to form a belief about the
 4
     truth of the allegations in Paragraph 53, which shall have the effect of a denial.
 5
            54.     The Alliance lacks sufficient knowledge or information to form a belief about the
 6
     truth of the allegations in Paragraph 54, which shall have the effect of a denial.
 7

 8          55.     The Alliance lacks sufficient knowledge or information to form a belief about the

 9   truth of the allegations in Paragraph 55, which shall have the effect of a denial.

10          56.     The Alliance admits that both the Sig Sauer P365 handgun and Smith & Wesson
11   M&P Sport .22 rifle are compatible with both LCMs and smaller-capacity magazines. The
12
     Alliance lacks sufficient knowledge or information to form a belief about the truth of the
13
     remaining allegations in Paragraph 56, which shall have the effect of a denial.
14
            57.     The Alliance lacks sufficient knowledge or information to form a belief about the
15

16   truth of the allegations in Paragraph 57, which shall have the effect of a denial.

17          58.     The Alliance lacks sufficient knowledge or information to form a belief about the

18   truth of the allegations in Paragraph 58, which shall have the effect of a denial.
19
            59.     The Alliance lacks sufficient knowledge or information to form a belief about the
20
     truth of the allegations in the first and third sentences of Paragraph 59, which shall have the
21
     effect of a denial. The second sentence of Paragraph 59 consists of legal conclusions and
22
     argument to which no response is required, but to the extent a response is required, the Alliance
23

24   denies the same.

25                 STATEMENT OF FACTS RELATING TO RAINIER ARMS, LLC
26          60.     The Alliance incorporates its responses as set forth above.
27
     INTERVENOR ALLIANCE FOR GUN RESPONSIBILITY’S                                  PACIFICA LAW GROUP LLP
     ANSWER TO FIRST AMENDED COMPLAINT - 13                                             1191 SECOND AVENUE
                                                                                              SUITE 2000
     Case No. 3:22-cv-05403-DGE                                                   SEATTLE, WASHINGTON 98101-3404
                                                                                      TELEPHONE: (206) 245.1700
                                                                                      FACSIMILE: (206) 245.1750
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 1          61.     The Alliance lacks sufficient knowledge or information to form a belief about the

 2   truth of the allegations in Paragraph 61, which shall have the effect of a denial.
 3
            62.     The Alliance lacks sufficient knowledge or information to form a belief about the
 4
     truth of the allegations in Paragraph 62, which shall have the effect of a denial.
 5
            63.     The Alliance lacks sufficient knowledge or information to form a belief about the
 6
     truth of the allegations in Paragraph 63, which shall have the effect of a denial.
 7

 8          64.     Paragraph 64 contains characterizations of this action and legal conclusions and

 9   argument to which no response is required. To the extent a response is required, the Alliance
10   denies the same. The Alliance lacks sufficient knowledge or information to form a belief about
11
     the truth of the remaining allegations in Paragraph 64, which shall have the effect of a denial.
12
             STATEMENT OF FACTS RELATING TO PLAINTIF DANIEL MARTIN
13
            65.     The Alliance incorporates its responses as set forth above.
14
            66.     The Alliance lacks sufficient knowledge or information to form a belief about the
15

16   truth of the allegations in Paragraph 66, which shall have the effect of a denial.

17          67.     The Alliance lacks sufficient knowledge or information to form a belief about the

18   truth of the allegations in Paragraph 67, which shall have the effect of a denial.
19
            68.     The Alliance lacks sufficient knowledge or information to form a belief about the
20
     truth of the allegations in Paragraph 68, which shall have the effect of a denial.
21
            69.     The Alliance lacks sufficient knowledge or information to form a belief about the
22
     truth of the allegations in Paragraph 69, which shall have the effect of a denial.
23

24          70.     The Alliance lacks sufficient knowledge or information to form a belief about the

25   truth of the allegations in Paragraph 70, which shall have the effect of a denial.
26

27
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 1           71.     The Alliance lacks sufficient knowledge or information to form a belief about the

 2   truth of the allegations in Paragraph 71, which shall have the effect of a denial.
 3
             72.     The first sentence of Paragraph 72 contains legal conclusions and argument to
 4
     which no response is required. To the extent a response is required, the Alliance denies the same.
 5
     The Alliance lacks sufficient knowledge or information to form a belief about the truth of the
 6
     remaining allegations in Paragraph 72, which shall have the effect of a denial.
 7

 8                                               COUNT ONE

 9           73.     The Alliance incorporates its responses as set forth above.
10           74.     Admitted.
11
             75.     The allegations in Paragraph 75 constitute legal conclusions or argument to which
12
     no response is required. To the extent a response is required, the Alliance denies the same.
13
             76.     The allegations in Paragraph 76 constitute legal conclusions or argument to which
14

15   no response is required. To the extent a response is required, the Alliance denies the same.

16           77.     The allegations in Paragraph 77 constitute legal conclusions or argument to which

17   no response is required. To the extent a response is required, the Alliance denies the same.
18           78.     Denied.
19
             79.     Denied.
20
             80.     Denied.
21
                                           PRAYER FOR RELIEF
22

23           The Prayer for Relief portion of the Amended Complaint makes no allegation to which an

24   answer is required. To the extent a response is required, the Alliance denies that Plaintiffs are

25   entitled to the requested relief or any other relief.
26

27
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 1                                          OMNIBUS DENIAL

 2           Unless otherwise specifically admitted above, the Alliance denies each and every
 3
     remaining allegation in the Amended Complaint.
 4
                              DEFENSES AND AFFIRMATIVE DEFENSES
 5
             The Alliance asserts the following defenses:
 6
             1. Plaintiffs fail to state a claim upon which relief can be granted.
 7

 8           The Alliance incorporates by reference and adopts as its own any defense asserted by any

 9   other Defendant, and reserves the right to amend this Answer to assert additional defenses and
10   affirmative defenses as additional facts are obtained through investigation and discovery.
11
                                 ALLIANCE’S PRAYER FOR RELIEF
12
             WHEREFORE, having fully answered the Amended Complaint and having asserted
13
     defenses and affirmative defenses, the Alliance respectfully requests the following relief:
14

15           1.      That the Amended Complaint be dismissed with prejudice and that no relief be

16   granted to Plaintiffs;

17           2.      That the Court enter final judgment in the Alliance’s favor;
18           3.      That the Court award the Alliance its reasonable expenses, costs, and attorney
19
     fees incurred in defending this action as authorized by law or equity; and
20
             4.      All other relief as the Court deems just and equitable.
21
             DATED this 14th day of July, 2022.
22

23                                                       PACIFICA LAW GROUP LLP

24                                                       s/ Kai A. Smith
                                                         Zachary J. Pekelis, WSBA #44557
25                                                       Kai A. Smith, WSBA #54749
26                                                       Attorneys for Intervenor-Defendant
                                                         Alliance for Gun Responsibility
27
     INTERVENOR ALLIANCE FOR GUN RESPONSIBILITY’S                                    PACIFICA LAW GROUP LLP
     ANSWER TO FIRST AMENDED COMPLAINT - 16                                             1191 SECOND AVENUE
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